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                                                                           FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON



                                                                 Dec 01, 2023
                                                                      SEAN F. MCAVOY, CLERK




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